  Case: 23-11184    Document: 00517056389 Page: 1 Date Filed: 02/05/2024
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                           February 05, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-11184    Doe v. Planned Parenthood
                      USDC No. 2:21-CV-22

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Roeshawn Johnson, Deputy Clerk
                                  504-310-7998
Ms. L. Nicole Allan
Mr. Danny Scot Ashby
Ms. Leah Godesky
Ms. Heather Gebelin Hacker
Mr. Anton Metlitsky
Ms. Karen S. Mitchell
Mr. Andrew Bowman Stephens
